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7                                   UNITED STATES DISTRICT COURT

8                                 SOUTHERN DISTRICT OF CALIFORNIA

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                                                             Case No.: 19cv1281-JLS(BLM)
10   MARIA HERNANDEZ, an individual, et al.,

11                                         Plaintiffs,       ORDER CONVERTING TELEPHONIC
                                                             MANDATORY SETTLEMENT
12   v.                                                      CONFERENCE TO VIDEO CONFERENCE
                                                             AND ISSUING UPDATED PROCEDURES
13   SOUTHWEST KEY PROGRAM, INC., a foreign
     nonprofit, et al.,
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                                        Defendants.
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17          On January 10, 2020, the Court scheduled a Mandatory Settlement Conference (“MSC”)
18   in this matter for July 9, 2020 at 1:30 p.m. ECF No. 19. On June 17, 2020, due to the current
19   COVID-19 public emergency 1, the Court converted the July 9, 2020 Settlement Conference to
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       On March 23, 2020, Chief Judge Larry A. Burns amended his original Order in response to the
22   COVID-19 public emergency, which, among other things, excuses personal appearance of
23   counsel and parties at civil court proceedings and notes that judges retain discretion to hold civil
     proceedings telephonically. See CJO #18-A at ¶ 4B. His original order, CJO #18, is available on
24   the Court website at
     https://www.casd.uscourts.gov/_assets/pdf/rules/Order%20of%20the%20Chief%20Judge%2
25   018.pdf. His amended order, CJO #18-A, which amends paragraph four of CJO #18, is available
26   on the Court website at
     https://www.casd.uscourts.gov/_assets/pdf/rules/Order%20of%20the%20Chief%20Judge%2
27   018-a.pdf. These orders were extended until mid-July by CJO #30, which is available on the
     Court website at
28   https://www.casd.uscourts.gov/_assets/pdf/news/Order%20of%20the%20Chief%20Judge%2

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1    be telephonic for all attendees. ECF No. 27. After further consideration, the Court hereby

2    CONVERTS the telephonic MSC to be via videoconference for all attendees. To facilitate this

3    modification, the Court hereby ORDERS as follows:

4           1.     The Court will use its official Zoom video conferencing account to hold the MSC.

5    IF YOU ARE UNFAMILIAR WITH ZOOM:                   Zoom is available on computers through a

6    download on the Zoom website (https://zoom.us/meetings) or on mobile devices through the

7    installation of a free app. 2   Joining a Zoom conference does not require creating a Zoom

8    account, but it does require downloading the .exe file (if using a computer) or the app (if using

9    a mobile device). Participants are encouraged to create an account, install Zoom and familiarize
10   themselves with Zoom in advance of the MSC. 3 There is a cost-free option for creating a Zoom
11   account.

12          2.     Prior to the start of the MSC, the Court will e-mail each MSC participant an

13   invitation to join a Zoom video conference. Again, if possible, participants are encouraged to

14   use laptops or desktop computers for the video conference, as mobile devices often offer inferior

15   performance. Participants shall join the video conference by following the ZoomGov Meeting

16   hyperlink in the invitation. Participants who do not have Zoom already installed on their

17   device will be prompted to download and install Zoom before proceeding when they

18   click on the ZoomGov Meeting hyperlink. Zoom may then prompt participants to enter the

19   password included in the invitation. All participants will be placed in a waiting room until the

20   MSC begins.

21          3.     Each participant should plan to join the Zoom video conference at least five

22   minutes before the start of the MSC to ensure that the MSC begins promptly at 1:30 p.m. The

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24   030.pdf.
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      Participants should use a device with a camera to fully participate in the video conference. If
26   possible, participants are encouraged to use laptops or desktop computers for the video
     conference, as mobile devices may offer inferior performance.
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         For help getting started with             Zoom,     visit:   https://support.zoom.us/hc/en-
28   us/categories/200101697-Getting-Started

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1    Zoom e-mail invitation may indicate an earlier start time, but the MSC will begin at

2    the Court-scheduled time.

3           4.     Zoom’s functionalities will allow the Court to conduct the MSC as it ordinarily would

4    conduct an in-person MSC. That is, the Court will begin the MSC with all participants joined

5    together in a main session. After an initial discussion in the main session, the Court will divide

6    participants into separate, confidential sessions, which Zoom calls Breakout Rooms. 4           In a

7    Breakout Room, the Court will be able to communicate with participants from a single party in

8    confidence. Breakout Rooms will also allow parties and counsel to communicate confidentially

9    without the Court.
10          5.     No later than close of business on July 2, 2020, counsel for each party shall

11   send an e-mail to the Court at efile_Major@casd.uscourts.gov containing the following:

12          a.     The name and title of each participant, including all parties and party

13   representatives with full settlement authority, claims adjusters for insured defendants, and the

14   primary attorney(s) responsible for the litigation;

15          b.     An e-mail address for each participant to receive the Zoom video conference

16   invitation; and

17          c.     A telephone number where each participant may be reached so that if

18   technical difficulties arise, the Court will be in a position to proceed telephonically instead of by

19   video conference. (If counsel prefers to have all participants of their party on a single conference

20   call, counsel may provide a conference number and appropriate call-in information, including an

21   access code, where all counsel and parties or party representatives for that side may be reached

22   as an alternative to providing individual telephone numbers for each participant.)

23          6.     All participants shall display the same level of professionalism during the MSC and

24   be prepared to devote their full attention to the MSC as if they were attending in person.

25   Because Zoom may quickly deplete the battery of a participant’s device, each participant should

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      For more information on what to expect when participating in a Zoom Breakout Room, visit:
28   https://support.zoom.us/hc/en-us/articles/115005769646

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1    ensure that their device is plugged in or that a charging cable is readily available during the

2    video conference.

3             7.   All dates, deadlines, procedures, and requirements set forth in the Court’s Order

4    Setting Discovery Deadlines [ECF No. 19] remain in place, except as explicitly modified by this

5    Order.

6             IT IS SO ORDERED.

7    Dated: 6/30/2020

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